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                                                                                                  Hon. David W. Christel
 1
                                                                                                   U.S. Magistrate Judge
 2
 3
 4
 5
 6                                       UNITED STATES DISTRICT COURT
 7                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT TACOMA
 8
       LIAM RILEY and SARAH RILEY,
 9     individually and the marital community
10     comprised thereof,                                                              NO. 3:19-CV-06193

11                                                            Plaintiffs,              MOTION TO WITHDRAW AS
                                                                                       PLAINTIFFS’ COUNSEL OF
12     v.                                                                              RECORD PURSUANT TO LCR
                                                                                       83.2(b)(1)
13
       CITY OF TACOMA, a municipal
14     corporation; and TACOMA FIRE                                                    AND DECLARATION OF
       DEPARTMENT, a municipal department,                                             COUNSEL
15
                                                           Defendants.                 NOTED FOR HEARING:
16                                                                                     FRIDAY, NOVEMBER 27, 2020
17
18
                                                  I. MOTION TO WITHDRAW
19
                COMES NOW Attorney Rebecca M. Larson and DAVIES PEARSON , P.C., and
20
     respectfully moves the court for an order allowing counsel to withdraw as attorneys of
21
     record for Plaintiffs Liam and Sarah Riley in the above referenced matter. This motion is
22
     made pursuant to LCR 83.2(b)(1) and based on the subjoined declaration of counsel.
23
      MOTION TO WITHDRAW AS PLAINTIFFS’                                                          DAVIES PEARSON, P.C.
24                                                                                                   ATTORNEYS AT LAW
      COUNSEL OF RECORD PURSUANT TO LCR                                                          920 FAWCETT -- P.O. BOX 1657
25    83.2(b)(1) AND DECLARATION OF COUNSEL                                                      TACOMA, WASHINGTON 98401
                                                                                                   TELEPHONE (253) 620-1500
      Page 1 of 5                                                                                  TOLL-FREE (800) 439-1112
26    NO. 3:19-CV-06193                                                                                FAX (253) 572-3052
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 1
 2              RESPECTFULLY SUBMITTED this 11th day of November, 2020.
 3
                                                                             By:  /S/ REBECCA M. LARSON
 4                                                                           REBECCA M. LARSON, WSBA# 20156

 5                                                                           DAVIES PEARSON, P.C.
                                                                             Attorneys for Plaintiffs
 6                                                                           920 Fawcett Avenue, PO Box 1657
 7                                                                           Tacoma, WA 98401
                                                                             Tel: (253) 620-1500
 8                                                                           Fax: (253) 572-3052
                                                                             rlarson@dpearson.com
 9
10
11
                                             II. DECLARATION OF COUNSEL
12
                COMES NOW Rebecca M. Larson, under penalty of perjury under the laws of the
13
14   State of Washington, and deposes and testifies as follows:

15              1.          I am the attorney of record for Plaintiffs Liam and Sarah Riley in this matter,
16   I make this declaration based upon personal knowledge, and I am competent to make the
17
     same.
18
                2.          Due to changes within my firm’s practice area, I informed Plaintiff Liam
19
     Riley in early 2020 that I would not be able to continue to represent him and his wife Sarah
20
21   in this matter going forward through trial, but that I would remain as his representative

22
23
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24                                                                                                ATTORNEYS AT LAW
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     until he could seek replacement counsel. Mr. Riley advised me that he was interviewing
 1
 2   other counsel after I advised him of my intent to withdraw.

 3              3.          In light of the COVID-19 pandemic situation and its effect on litigation in
 4   general, I did not withdraw earlier in the year, hoping that Mr. Riley would be able to retain
 5
     replacement counsel. Many months have now passed, however, and Mr. Riley advises that
 6
     he is still seeking substitute counsel, so far unsuccessfully.
 7
 8              4.          In addition to changes occurring within my firm, it also recently has become

 9   clear that Mr. Riley and I do not view this case in the same manner and do not agree on the

10   best path for moving forward. Without violating attorney/client privilege, it is my belief
11
     that I cannot continue to represent Mr. Riley and his wife and to prosecute this litigation
12
     on their behalf. For that reason, I am moving the court for leave to withdraw.
13
                5.          This matter is currently set for trial on October 18, 2021, over 11 months in
14
15   the future. Pursuant to the Order Amending Case Schedule (Dkt. 21), the next deadline of

16   any type is not until the Expert Witness Disclosure/Report Deadline of March 15, 2021,

17   and the discovery deadline is May 17, 2021.                                Written discovery has been conducted, and
18
     both Plaintiffs and Defendants have recently exchanged interrogatory answers and
19
     document production. As such, I believe that this is an appropriate time for me to
20
     withdrawal and that it will not prejudice any of the parties involved.
21
22
23
      MOTION TO WITHDRAW AS PLAINTIFFS’                                                         DAVIES PEARSON, P.C.
24                                                                                                  ATTORNEYS AT LAW
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                6.          Prior to the filing of this motion, I advised Mr. and Mrs. Riley that I intended
 1
 2   to move to withdraw, and I have also advised defense counsel of the same. I hereby certify

 3   that a copy of this motion has been served on both Mr. and Mrs. Riley and opposing
 4   counsel, as indicated below in the Certificate of Service.
 5
                7.          As the Plaintiffs will be left at least temporarily without representation, I
 6
     am including their current contact information in compliance with the Local Rules.
 7
 8                                      Liam and Sarah Riley
                                        7105 44th Avenue E.
 9                                      Tacoma, WA 98443
                                        (206) 769-6376 (Liam Riley Cell Phone)
10                                      (253) 307-1846 (Sarah Riley Cell Phone)
11
                I CERTIFY UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
12
     STATE OF WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.
13
                SIGNED at Tacoma, Washington this 11th day of November, 2020.
14
15                                                                           By:  /S/ REBECCA M. LARSON
                                                                             REBECCA M. LARSON, WSBA# 20156
16
17
18
19
20
21
22
23
      MOTION TO WITHDRAW AS PLAINTIFFS’                                                   DAVIES PEARSON, P.C.
24                                                                                            ATTORNEYS AT LAW
      COUNSEL OF RECORD PURSUANT TO LCR                                                   920 FAWCETT -- P.O. BOX 1657
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 1                                                CERTIFICATE OF SERVICE
 2              I hereby certify that on this date I electronically filed the foregoing with the Clerk
 3   of the Court using the CM/ECF system which will send notification of such filing to the
 4   following:
 5
     Jennifer J Taylor jtaylor@ci.tacoma.wa.us, gcastro@ci.tacoma.wa.us,
 6   sblack@ci.tacoma.wa.us

 7   Michelle Yotter myotter@cityoftacoma.org, BPittman@ci.tacoma.wa.us,
     gcastro@ci.tacoma.wa.us, sblack@cityoftacoma.org
 8
 9   and I hereby certify that I have mailed by United States Postal Service the document to the
10   following non CM/ECF participants: N/A
11              I also hereby certify that on this date I sent copies of the foregoing filing to Plaintiffs
12   via e-mail at the following:
13   Liam Riley - locofomocoracing@gmail.com
14   Sarah Riley - sarahandliamriley@gmail.com
15   and I hereby certify that I have mailed by United States Postal Service the documents to
16   Mr. and Mrs. Riley at the following address:
17
                7105 44th Avenue E.
18              Tacoma, WA 98443
19
20              SIGNED at Tacoma, Washington this 11th day of November, 2020.

21                                                               By:  /S/ JODY M. WATERMAN
                                                                 JODY M. WATERMAN, Legal Assistant
22
23
      MOTION TO WITHDRAW AS PLAINTIFFS’                                                DAVIES PEARSON, P.C.
24                                                                                         ATTORNEYS AT LAW
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